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                                                                                FILED
                        IN THE UNITED STATES DISTRICT COUR[S.  DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND DISTRICT OF MARYLAND

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UNITED STATES OF AMERICA                        *                           CLERK'S OFFICE
                                                *                            AT GREENBf.U
                                                *                        ny__       .. ['[T!JTY
v.                                              *           Crim. No. PJM 03-0484
                                                *
                                                *
ERIC AARON LYLES                                *
                                                *
        Petitioner                              *
                                                *
                                  MEMORANDUM          OPINION

        Eric Lyles has. tiled a Motion to Reduce Sentence pursuant to 18 V.S.C.      S 3582(c), in
which he seeks a reduction in his sentence under Amendment           782 to the V,S. Sentencing

Guidelines.   ECF No. 421. Although Lyles states in his Motion that he is "among the class of

defendants who qualify" for the sentence reduction, he was, in fact, found to be a career offender

under   S 4B 1.1 of the Guidelines,   Because Lyles' sentence was based on the career offender

provision of S 4B 1.1, he is ineligible for a reduction pursuant to Amendment 782. Accordingly,

the Court will DENY his Motion.

                                                I.

        Lyles pleaded guilty to one count of possession with intent to distribute five or more

grams of cocaine base in violation of 21 V.S.C.      S 841 and was sentenced to 188 months in
custody. Although the quantity of cocaine base involved would have given a base offense level

of32 under V.S.S.G. S 2Dl.I, Lyles was classified as a career offender under V.S.S.G. S 4B1.1,

which resulted in a base offense level of 34. After serving some time in custody, he moved to




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have his sentence reduced pursuant to Amendment 706, which the Court denied on the ground

that Lyles was ineligible as a career offender. See ECF No. 332.

       On March 16, 2015, Lyles filed the present Motion, seeking a reduction in his sentence

pursuant to Amendment 782.      ECF No. 421.          On August 28, 2015, the Government tiled its

opposition to the Motion. ECF No. 453. Lyles has not filed a reply.

                                                 II.

       Amendment      782, effective November     1, 2014, reduced the base offense level in the

Advisory Guidelines under S 2D 1.1 for certain drug offenses by two levels. The Amendment did

not, however, reduce base offense levels for sentences determined pursuant to S 4B 1.1, the career

offender provision.

       Under 18 U.S.c.     S 3582(c), "a defendant         who has been sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing

Commission" may file a motion asking the Court to reduce his sentence. The Court may reduce

the defendant's term of imprisonment "after considering the factors set forth in section 3553(a)

to the extent that they are applicable, if such a reduction is consistent with applicable policy

statements issued by the Sentencing Commission." 18 U.S.C. S 3582(c)(2).

       A sentence reduction is not consistent with the policy statements of the Sentencing

Commission, and thus not authorized, if the subsequent amendment "does not have the effect of

lowering the defendant's    applicable    guideline    range."     U.S.S.G.   SIB   1.10(a)(2)(B).   The

Sentencing Commission has defined the "applicable guideline range" as "the guideline range that

corresponds   to the offense   level and criminal        history category     determined   . . . before

consideration of any departure provision."     U.S.S.G. App. C, Amend. 759 (2011); U.S.S.G. S

I B 1.10, cm!. n.! (A). Accordingly, a defendant whose sentence was based on the career offender



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designation under S 4B 1.1 is not eligible for a sentence reduction when the base offense level for

drug quantities under S 201.1 are subsequently reduced. See, e.g, United States v. Hall, 627 F.

App'x 266, 267 (4th Cir. 2016) ("[B]ecause        Hall was sentenced as a career offender ...

Amendment 782 did not lower his applicable Guidelines range, and he is therefore not eligible ..

. ."); United States v. Moton, 531 F. App'x 377, 378 (4th Cir. 2013).

          Lyles is not entitled to a sentence reduction, because he does not have a "sentencing

range that has subsequently      been lowered by the Sentencing         Commission."   18 U.S.c.   S
3582(c)(2).     Given that Lyles' sentence was "based on" the career offender provision under S

4B1.1 rather than on the drug quantity levels under S 201.1, he is ineligible for a reduction in

sentence.

                                                III.

          For the foregoing reasons, Lyles' Motion for a Reduced Sentence under 18 U.S.C. S

3582(c) is DENIED.

          A separate Order will ISSUE.




                                                                  lsI
                                                          E ER J. MESSITTE
                                              UNITE      ST TES DISTRICT JUDGE

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April_,        2016




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